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July 18, 2025



FILED VIA ECF

The Honorable Stephanie A. Gallagher
District Judge
U.S. District Court for the District of Maryland
101 West Lombard Street
Chambers 7C
Baltimore, MD 21201

Re:    J.O.P., et al. v. U.S. Department of Homeland Security, et al.,
       Civil Action No. 19-cv-01944-SAG

Dear Judge Gallagher:

         We represent Plaintiffs and the certified class in the above-captioned class action case. We write
to bring to the Court’s attention current developments relating to “Cristian,” the J.O.P. class member who
is the subject of several orders of this Court, including an April 23 order directing Defendants to facilitate
Cristian’s return from detention in El Salvador to the United States. ECF Nos. 253, 254.

       Today, multiple news sources are reporting that, according to U.S. government officials, a number
of Venezuelans detained in El Salvador’s CECOT prison are being sent to Venezuela in exchange for
Americans held in Venezuela. See, e.g., A. Roston and T. Hesson, “El Salvador to Send Detained
Venezuelans to Caracas in Prison Swap for Americans, Sources Say,” Reuters (Jul. 18, 2025) 1 (reporting
July 18 statement from a U.S. official that 238 Venezuelans held in the CECOT prison will be exchanged
for 10 U.S. citizens and permanent residents held by the Venezuelan government).

        At 1:50 p.m. ET today, Class Counsel emailed counsel for the Defendants to ask whether class
member Cristian is on one of the flights involved in the exchange, and if so, the flight’s destination and
scheduled landing time. As of this writing, government counsel has only responded that “We are waiting
for information from the Department of State and will get that to you as soon as possible.”

       The U.S. government’s involvement in transportation of class member Cristian from El Salvador
to Venezuela—a country from which he has sought asylum—would defy this Court’s April 23 order. It
1
 Available at: https://www.reuters.com/world/americas/el-salvador-send-detained-venezuelans-caracas-
prison-swap-americans-sources-say-2025-07-18/.
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would also give the lie to the government’s repeated assertions that it lacks authority to immediately
facilitate Cristian’s return, as this Court’s order requires. If, on the other hand, Cristian is in the process
of being transported to the United States, Class Counsel has explained the need for prompt notice of
Cristian’s return in order to ensure he is provided with the lawful adjudication on the merits of his asylum
application that he is due pursuant to the Settlement Agreement. ECF No. 347. Class Counsel notes further
that Defendants’ weekly status report, due at noon today, has not been filed as of this writing.

       If needed, Class Counsel can be available by telephone at the Court’s convenience to address these
developments.

Sincerely,



/s/ Brian Burgess


BB

Cc: Counsel of Record
